SDNY CM/ECF NextGen Version 1.6                              https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?94106125675496-L_1_0-1
                     Case 1:23-mj-00067-JFA Document 8 Filed 03/23/23 Page 1 of 6 PageID# 44


                                          U.S. District Court
                              Southern District of New York (White Plains)
                     CRIMINAL DOCKET FOR CASE #: 7:23-mj-02171-UA-1 *SEALED*
                                           Internal Use Only


         Case title: USA v. SEALED                                 Date Filed: 03/16/2023


         Assigned to: Judge Unassigned

         Defendant (1)
         Conor Brian Fitzpatrick                     represented by Benjamin David Gold
                                                                    Federal Defenders of New York Inc.
                                                                    (White Plains)
                                                                    300 Quarropas Street
                                                                    White Plains, NY 10601
                                                                    914-355-8077
                                                                    Email: ben_gold@fd.org
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED
                                                                    Designation: Public Defender or
                                                                    Community Defender Appointment

         Pending Counts                                             Disposition
         None

         Highest Offense Level (Opening)
         None

         Terminated Counts                                          Disposition
         None

         Highest Offense Level (Terminated)
         None

         Complaints                                                 Disposition
         18:1029B.F----ATTEMPTS TO COMMIT
         AN OFFENSE



         Plaintiff




1 of 3                                                                                                     3/21/2023, 2:49 PM
SDNY CM/ECF NextGen Version 1.6                                     https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?94106125675496-L_1_0-1
                  Case 1:23-mj-00067-JFA Document 8 Filed 03/23/23 Page 2 of 6 PageID# 45

         USA                                               represented by James Franklin McMahon
                                                                          US Attorneys Office
                                                                          300 Quarropas Street
                                                                          White Plains, NY 10601
                                                                          (914) 993-1936
                                                                          Fax: (914) 993-9036
                                                                          Email: james.mcmahon@usdoj.gov
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED
                                                                          Designation: Assistant US Attorney


         Date Filed       #   Docket Text
         03/16/2023        1 RULE 5(c)(3) AFFIDAVIT of John Longmire, Special Agent with FBI, from the
                             United States District Court - Southern District of New York, as to Conor Brian
                             Fitzpatrick. (Signed by Magistrate Judge Paul E. Davison on 3/16/2023) (ap) (Entered:
                             03/17/2023)
         03/16/2023           Arrest (Rule 5(c)(3)) of Conor Brian Fitzpatrick. (ap) (Entered: 03/17/2023)
         03/16/2023        2 Minute Entry for proceedings held before Magistrate Judge Paul E. Davison: Initial
                             Appearance in Rule 5(c)(3) Proceedings as to Conor Brian Fitzpatrick held on
                             3/16/2023. Appearance entered by James Franklin McMahon for USA. Benjamin
                             David Gold for Conor Brian Fitzpatrick on behalf of defendant. Bond Hearing as to
                             Conor Brian Fitzpatrick held on 3/16/2023. BAIL DISPOSITION: SEE
                             TRANSCRIPT. AGREED CONDITIONS OF RELEASE. $300,000 PRB; 2 FRP;
                             TRAVEL RESTRICTED TO SDNY/EDNY; SURRENDER TRAVEL DOCUMENTS
                             (& NO NEW APPLICATIONS); PRETRIAL SUPERVISION: AS DIRECTED BY
                             PRETRIAL SERVICES; DEF. TO CONTINUE OR SEEK EMPLOYMENT [OR]
                             DEF. TO CONTINUE OR START EDUCATION PROGRAM; DEF. TO BE
                             RELEASED ON OWN SIGNATURE. Initial appearance of Conor Fitzpatrick.
                             Defendant present with Ben Gold, Federal Defenders. AUSA James McMahon present
                             for the Government. Pretrial Services Officer Shannon Finneran present. The
                             defendant was advised of his rights and the charges against him and waives public
                             reading. Financial affidavit is approved and Ben Gold is appointed as counsel.
                             Defendant release on agreed upon bail conditions. $300,000.00 PRB to be cosigned by
                             defendant's parents by COB on 3/20/23. Defendant to appear in the Eastern District of
                             Virginia on March 24, 2023 at 12 pm. See appearance bond. See transcript.
                             IDENTITY HEARING WAIVED; DEFENDANT TO BE REMOVED. (Court
                             Reporter Courtflow) (ap) (Entered: 03/17/2023)
         03/16/2023        3 CJA 23 Financial Affidavit by Conor Brian Fitzpatrick. APPROVED. (Signed by
                             Magistrate Judge Paul E. Davison) (ap) (Entered: 03/17/2023)
         03/16/2023        4 UNSECURED APPEARANCE BOND Entered as to Conor Brian Fitzpatrick in
                             amount of $300,000.00, Co-signed by 2 FRP, Defendant's parents by COB 3/20/23,
                             The defendant must appear at: Eastern District of Virginia 3/24/2023 12:00 pm. The
                             defendant must: submit to supervision by and report for supervision to the PRETRIAL
                             SERVICES As Directed; surrender any passport to:PRETRIAL SERVICES; not obtain
                             a passport or other international travel document; abide by the following restrictions
                             on personal association, residence, or travel: SDNY/EDNY and the Eastern District of
                             Virginia for court appearances; avoid all contact, directly or indirectly, with any person


2 of 3                                                                                                            3/21/2023, 2:49 PM
SDNY CM/ECF NextGen Version 1.6                                     https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?94106125675496-L_1_0-1
                  Case 1:23-mj-00067-JFA Document 8 Filed 03/23/23 Page 3 of 6 PageID# 46

                              who is or may be a victim or witness in the investigation or prosecution, including: No
                              contact with victims or witnesses in this investigation No contact with codefendants or
                              coconspirators in this investigation; get medical or psychiatric treatment; not use or
                              unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C.
                              § 802, unless prescribed by a licensed medical practitioner. $300,000.00 PRB To be
                              cosigned by 2 FRP (defendant's parents) by COB Monday 3/20/23; Pretrial Services
                              supervision as directed; Travel restricted to the Southern and Eastern Districts of New
                              York and Eastern District of Virginia for court/attorney purposes, with prior
                              notification to Pretrial Services; Surrender travel documents/Make no applications for
                              travel documents; Mental health evaluation & treatment as directed by Pretrial
                              Services; No contact with victims or witnesses in this investigation; No contact with
                              codefendants or coconspirators in this investigation; Not to possess the personal
                              identification information of others, including at any place of employment; Not to
                              open any new lines of credit, bank accounts, cryptocurrency accounts and credit cards
                              without prior approval from Pretrial Services; Maintain or actively seek employment
                              and/or enroll in an educational/vocational program; Refrain from use or unlawful
                              possession of a narcotic drug or other controlled substances defined in 21 U.S.C. 802,
                              unless prescribed by a licensed medical practitioner; Shall not access the BreachForum
                              website; Shall have no knowing contact with BreachForum users or co-conspirators
                              unless supervised by counsel; Defendant is to appear in the Eastern District of Virginia
                              on March 24, 2023 by noon. (ap) Modified on 3/21/2023 (ap). (Entered: 03/17/2023)
         03/20/2023        5 SEALED DOCUMENT placed in vault. (lnl) (Entered: 03/20/2023)




3 of 3                                                                                                            3/21/2023, 2:49 PM
  Case 1:23-mj-00067-JFA Document 8 Filed 03/23/23 Page 4 of 6 PageID# 47




 Approved;
                J/AMES MCMAHON
                   Lssistant United States Attorney

 Before:        HONORABLE PAUL E. DAVISON
                United States Magistrate Judge
               Southern District of New York

 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
                                           ■X



 UNITED STATES OF AMERICA
                                                23 Mag.           |
             -V.                                RULE 5(c) (3)   AFFIDAVIT

CONOR BRIAN FITZPATRICK,

                      Defendant.


                                           ■X



SOUTHERN DISTRICT OF NEW YORK,       ss:

             John Longmire, being duly sworn, deposes and says that
he is a Special Agent with the Federal Bureau of Investigation
 C^FBI") and charges as follows;

          At approximately 4:30 PM on March 15, 2023, I led a
team of law enforcement agents that made a probable cause arrest
of the defendant in Peekskill, New York. Thereafter, I swore
out a criminal complaint on that day in the United - States
District Court for the Eastern District of Virginia in which I
formally charged the defendant with one count of conspiracy to
solicit individuals with the purpose of selling unauthorized
access devices, in violation of Title 18, United States Code,
Section 1029(b) (2) . A copy of the complaint is attached.

             I believe that CONOR BRIAN FITZPATRICK, the defendant,
is the same individual as the "Conor Brian Fitzpatrick," a/k/a
"pompompurin" named in the Complaint.

             The bases for my knowledge and for the foregoing
charges are, in part, as follows:

          1.   I have been a Special Agent with the Federal
Bureau of Investigation (''FBI") for over 16 years. I am
Case 1:23-mj-00067-JFA Document 8 Filed 03/23/23 Page 5 of 6 PageID# 48
               Case 1:23-mj-00067-JFA Document 8 Filed 03/23/23 Page 6 of 6 PageID# 49
DOCKET No. _____________________________
           23MJ2171                                              DEFENDANT _______________________________________
                                                                           CONOR BRIAN FITZPATRICK


AUSA ___________________________________
      JAMES MC MAHON                                             DEF.’S COUNSEL ___________________________________
                                                                                BEN GOLD
                                                                   RETAINED   ✔ FEDERAL DEFENDERS    CJA    PRESENTMENT ONLY
   _____________________ INTERPRETER NEEDED
                                                                               DEFENDANT WAIVES PRETRIAL REPORT

   Rule 5         Rule 9 ✔ Rule 5(c)(3)      Detention Hrg.          DATE OF ARREST ________________
                                                                                    3/15/23                    VOL. SURR.
                                                                     TIME OF ARREST ________________           ON WRIT
   Other: ________________________________________                   TIME OF PRESENTMENT __________
                                                                                           3:30 PM
                                                                                          

                                                        BAIL DISPOSITION
                                                                                                               SEE SEP. ORDER
  DETENTION ON CONSENT W/O PREJUDICE              DETENTION: RISK OF FLIGHT/DANGER ✔ SEE TRANSCRIPT
  DETENTION HEARING SCHEDULED FOR: ________________________
✔ AGREED CONDITIONS OF RELEASE
  DEF. RELEASED ON OWN RECOGNIZANCE
   300,000.00
  $_______________ PRB ✔ ________FRP
                         2
  SECURED BY $_______________ CASH/PROPERTY: __________________________________________________________
✔ TRAVEL RESTRICTED TO SDNY/EDNY/_____________________________________________________________________
                                    and Eastern District of Virginia
  TEMPORARY ADDITIONAL TRAVEL UPON CONSENT OF AUSA & APPROVAL OF PRETRIAL SERVICES
✔ SURRENDER TRAVEL DOCUMENTS (& NO NEW APPLICATIONS)

   PRETRIAL SUPERVISION:    REGULAR         STRICT ✔ AS DIRECTED BY PRETRIAL SERVICES
   DRUG TESTING/TREATMT AS DIRECTED BY PTS ✔ MENTAL HEALTH EVAL/TREATMT AS DIRECTED BY PTS
   DEF. TO SUBMIT TO URINALYSIS; IF POSITIVE, ADD CONDITION OF DRUG TESTING/TREATMENT

   HOME INCARCERATION        HOME DETENTION      CURFEW       ELECTRONIC MONITORING     GPS
   DEF. TO PAY ALL OF PART OF COST OF LOCATION MONITORING, AS DETERMINED BY PRETRIAL SERVICES

✔ DEF. TO CONTINUE OR SEEK EMPLOYMENT [OR] ✔ DEF. TO CONTINUE OR START EDUCATION PROGRAM
  DEF. NOT TO POSSESS FIREARM/DESTRUCTIVE DEVICE/OTHER WEAPON

  DEF. TO BE DETAINED UNTIL ALL CONDITIONS ARE MET
✔ DEF. TO BE RELEASED ON OWN SIGNATURE, PLUS THE FOLLOWING CONDITIONS: ___________________________
______________________________________________________; REMAINING CONDITIONS TO BE MET BY: _____________

ADDITIONAL CONDITIONS/ADDITIONAL PROCEEDINGS/COMMENTS:

Initial appearance of Conor Fitzpatrick. Defendant present with Ben Gold, Federal Defenders. AUSA James McMahon
present for the Government. Pretrial Services Officer Shannon Finneran present. The defendant was advised of his rights
and the charges against him and waives public reading. Financial affidavit is approved and Ben Gold is appointed as
counsel. Defendant release on agreed upon bail conditions. $300,000.00 PRB to be cosigned by defendant's parents by
COB on 3/20/23. Defendant to appear in the Eastern District of Virginia on March 24, 2023 at 12 pm. See appearance
bond. See transcript. Recorded on Courtflow. 20 minutes.


   DEF. ARRAIGNED; PLEADS NOT GUILTY                          CONFERENCE BEFORE D.J. ON _______________
   DEF. WAIVES INDICTMENT
   SPEEDY TRIAL TIME EXCLUDED UNDER 18 U.S.C. § 3161(h)(7) UNTIL _______________

For Rule 5(c)(3) Cases:
✔ IDENTITY HEARING WAIVED                                       ✔ DEFENDANT TO BE REMOVED
  PRELIMINARY HEARING IN SDNY WAIVED                            ✔ CONTROL DATE FOR REMOVAL: _______________


PRELIMINARY HEARING DATE: ________________                        ON DEFENDANT’S
                                                                      EFENDANT S CONSENT

DATE: ______________________
      March 16, 2023                                                     __________________________________________________
                                                                         _______
                                                                              ____
                                                                              __ _ _____
                                                                                      ______
                                                                                           ___
                                                                                            _____________________
                                                                         UNITED
                                                                         UNNIT
                                                                             ITED
                                                                               ED
                                                                               E D STATES MAGISTRATE JUDGE JUDGE, S.D.N.Y.
WHITE (original) – COURT FILE   PINK – U.S. ATTORNEY’S OFFICE         YELLOW – U.S. MARSHAL   GREEN – PRETRIAL SERVICES AGENCY
Rev’d 2016
